                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF IOWA
                              CEDAR RAPIDS DIVISION

 UNITED STATES OF AMERICA,

              Plaintiff,                            NO. 22-CR-00001

 vs.
                                                      DEFENDANT’S RESISTANCE TO
 DOUG HARGRAVE,                                    GOVERNME’T'S SENTENCING BRIEF
                                                     AND RESPONSE GOVERNMENT’S
              Defendant.                              RESISTANCE TO DEFENDANT’S
                                                    SENTENCING MEMORANDUM AND
                                                              MOTIONS


       COMES NOW, Defendant Doug Hargrave, by and through his counsel, and files this

Resistance to the Government’s Sentencing Brief (Doc. 37) and Response to the Government’s

February 13, 2023 Resistance to his Sentencing Memorandum and Motions for Downward

Departure and Variance (Doc. 38).

       I. Defendant Exhibits

       D-1.   Outstanding Payments

       Y.     Defendant’s Email Requesting $225,000 Disbursement

       Z.     January Bank Statements

       AA.    UCC Filings

       BB.    Cash Flow Projections (FINAL) – update 9-30

       II. Calculation of Loss

       1. Kelly Clarkson Sales. Defendant does not dispute that GoCR “never calculated the

Newbo Evolve profits and losses by artist.” Doc. 30, p. 2. The relevance of the calculations

specifically accounting for money paid for and revenue generated by Kelly Clarkson’s performance




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is regarding the first fraudulent loan of $250,000, which was necessary in order to pay Ms. Clarkson

and secure her performance at the event. Defendant is attempting to assess what happened to this

exact $250,000 loaned by the bank due to his criminal conduct and used to pay Ms. Clarkson.

Defendant acknowledges that the government’s calculation of net revenue from the performance is

more accurate; Government’s Exhibit 13 is a document that Defendant had not found in discovery,

and appears to present a cleaner accounting of revenue from the Kelly Clarkson performance than

Defendant’s Exhibit C, including accounting for sales tax as pointed out by the Government.

         Accepting as a more accurate accounting the Government’s calculated net revenue of

$232,029.12, the Government still misunderstands Defendant’s contentions on this point.

         Ms. Clarkson appears to have been paid the first $250,000 installment towards her contract

price in April, or at the very least May, of 2018. 1 This payment would have been made using funds

from either the bank’s original loan of $1.5 million or the $500,000 in funds from the City of Cedar

Rapids. Pursuant to her contract terms, this is money that would never be returned to GoCR (or the

bank) if it did not pay the second installment. In that event, Ms. Clarkson had the contractual right

to refuse to perform and retain all funds previously paid to her. See, Exhibit B. The $232,029.12 in

net revenue from her ticket sales would not have materialized if she had not been paid her second

installment of $250,000.00, and there is simply no factual scenario known to Defendant, aside from

Ms. Clarkson’s own wrongful refusal to perform under the contract, in which that $250,000.00 paid

to her would be returned to GoCR. The net revenue should therefore be viewed as a mitigation of

the Bank’s loss resulting from its extension of an additional $250,000 in credit as a result of criminal

fraud, resulting in a net loss, using these numbers, of $17,970.88.



1
 Ms. Clarkson’s contract provides that the first payment is due prior to any advertisement of her performance.
Exhibit B, p. 1.




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        2. The Pre-Fraud Loan Disbursement. The Government argues in its Sentencing Brief (Doc.

37) that the $225,000 payment made by the Bank to GoCR on June 14, 2018 should be counted as

loss. However, this argument fails for a number of reasons. As a factual matter, the $225,000 did

not come entirely from the $1.5 million line of credit negotiated in December 2017 for Evolve.

Bank staff indicate in their emails regarding the disbursement that $125,000 came from that line of

credit, but $100,000 came from a different “operating” line of credit that GoCR had separately

negotiated with the bank. As a result, taking the balance of the Government’s argument for granted,

the loss involved in this event would only be $125,000, as only that amount is at all related to the

fact pattern discussed by the Government.

        It also fails as a matter of law. The payment was not in any way an “advance,” or in other

words a new loan, as it is characterized by the Government. Doc. 37 at 4. It was a disbursement of

credit available as part of the previously arranged loan with the bank, and not as a result of either

of the two loans that were later fraudulently obtained. Defendant requested this disbursement under

the existing lines of credit without making any fraudulent representations, only stating that the

money was needed to pay for insurance and to pay Kelly Clarkson. The Government has introduced

no evidence that these statements were false when made.

        The Government makes much of the facts that 1) Defendant was aware of a projected loss

at this time and 2) Defendant sent a fraudulent budget to a different party on June 11, 2018. Neither

of these facts establish the commission of bank fraud under 18 U.S.C. § 1344. As noted, Defendant

did not make a false statement to the Bank in requesting the disbursement of money the Bank had

already committed to advancing under a line of credit, and the Government cites no authority for

holding that an omission consisting of withholding information regarding a projected loss is a false

statement punishable under § 1344. As to the sending of a false statement to a third party, the




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Government has introduced no evidence that said party was an insured financial institution as

required under § 1344, and has also not suggested that any funds were advanced by that entity to

result in a criminal loss on its part.

        It appears that the Government implicitly argues that Defendant violated § 1344 in this

conduct by failing to inform the bank that GoCR was facing a new financial reality compared to

when it applied for the $1.5 million line of credit it was now drawing from. However, an omission

of facts, even if material, is not conduct forming a “scheme to defraud” under § 1344 when it is a

mere nondisclosure and not part of an affirmative or active attempt to hide those facts. See, U.S. v.

Steffan, 687 F.3d 1104 (8th Cir. 2012). In that case, the defendant was accused of improperly selling

collateral promised to a bank; the prosecution argued that failing to disclose the state of the

collateral once it was compromised was a misrepresentation indictable under § 1344. Id. at 1107-

08. The district court dismissed the case on the defendant’s motion for failure to state an offense.

Id. at 1107. On appeal, the Eighth Circuit held that while a “scheme to defraud under section

1344(1) does not require an affirmative misrepresentation,” there is a difference between “passive”

and “active” concealment. Id. at 1113, 1115. The former is not sufficient for criminal liability, and

therefore the indictment failed because it “fail[ed] to allege any acts to conceal” but rather alleged

“only nondisclosure.” Id. at 1115.

        In this case, it appears that the Government suggest that because Defendant knew on June

14, 2018 of the projected $1.1 million loss, his request of an additional $225,000 from the Bank on

that date was a violation of § 1344, and the forwarded amounts can therefore be calculated as loss

resulting from criminal conduct. This suggestion, however, does not hold up under the Eighth

Circuit’s application of the statute.

        3. Use of the Final Loan’s Proceeds. Finally, the Government argues that there is no




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evidence that the $450,000 loan proceeds were used to pay necessary expenses. Doc. 38 at 3. In

support of his argument, Defendant would refer to Exhibit D-1 filed herewith, which is a

spreadsheet that appears to be an internal GoCR document prepared to track outstanding expenses

in the aftermath of the Evolve festival. None of the companies or acts listed as exemplary necessary

expenses in Defendant’s Sentencing Memorandum are listed here as unpaid creditors, suggesting

that they were in fact paid. Doc. 31 at 12; Defendant’s Exhibit D-1, Outstanding Payables. As for

the assertion that the $450,000 funds were specifically used to pay these expenses, it seems beyond

dispute that GoCR lacked the funds needed to put on the event in the month, weeks, and days

preceding August 3, and that Defendant and McCreight obtained the fraudulently-induced loans for

this reason. See, exe., Doc. 21 at 7-8.

        While the Government may be correct in pointing out relatively minor calculation errors by

defense counsel, its primary arguments attacking the Defendant’s arguments regarding amounts of

loss are not supported by law or fact.

        III. Departure

        The Government resists an aberrant behavior departure under USSG § 5K2.20 due to the

alleged “significant planning” and “duration” involved in the criminal conduct. As noted by

Defendant, courts have previously held that an aberrant behavior deviation is appropriate in the case

of, for example, a four-month-long check-kiting scheme. See, Doc. 30 at 3; U.S. v. Suarez-Reyes,

2012 WL 6597814. Defendant’s conduct, however, appears to have taken place during the course

of approximately one month. Defendant sent the fraudulent budget to the Bank on or about July 16,

2018, and received the additional loan of $250,000 on July 19 th. Doc. 21 at 8. The second fraudulent

loan was made on or about August 1, 2018. Defendant’s crime was of significantly less planning

and duration than, for example, a check-kiting scheme conducted over a period of four months.




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         The Government also argues that despite the fact that Defendant admittedly “has only one

criminal history point,” the Court should refuse a deviation because “he has two adult criminal

convictions involving alcohol.” Doc. 38 at 5. The Government cites no authority for the Court using

the 1986 simple misdemeanor conviction for public intoxication to find that Defendant has not led

“an otherwise law-abiding life.” It does not count towards his criminal history points calculation,

which USSG § 5K2.20(c)(4) specifically points to as a criteria for determining whether a defendant

is eligible for the deviation.

         IV. Variance

         Defendant believes that his previous filings are mostly sufficient to answer the

Government’s arguments presented regarding variance, and maintains that it is appropriate for the

Court to consider a downward variance in his case. However, one additional point seems necessary

regarding Defendant’s employment.

         The Government asserts that Defendant sought personal gain by his criminal conduct in that

he was seeking to keep his job at GoCR, speculating that if the event was not a success he would

lose this job and suffer negative consequences in his career. Doc. 38 at 5-6. The facts do not show

this to be the case. First of all, even after Evolve failed spectacularly, Defendant was retained at

GoCR as it attempted to restructure and move forward under its new debt load. A Cash Flow

Projection sheet prepared in September of 2018, in projecting payroll expenses, assumed that

Defendant would be an employee of GoCR for the foreseeable future. Defendant’s Exhibit BB,

Cash Flow Projections (FINAL) – update 9-30. 2 Additionally, Defendant had enjoyed a relatively

successful career prior to his work for GoCR and presumably would absorb the loss of this job fairly



2
 This exhibit, like all of Defendant’s exhibits except for Exhibit X, is recovered from discovery provided by the
Government. Other parts of this spreadsheet not relevant to the matter addressed have been omitted.




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easily. After all, he had only been employed by GoCR for a few months at the time it folded.

       V. Conclusion

       Defendant would argue that sentencing matters in this case primarily revolve not around

factual disputes, but rather disagreements as to what legal conclusions follow from the facts. He

maintains that, on balance, his Sentencing Memorandum offers a more reasonable interpretation of

the complex financial transactions and consequences that form the body of facts in this case. In

arguing for higher restitution amounts, the Government’s pleadings appear to oversimplify matters

and overlook important details such as the nature of each individual loan, what specific conduct by

Defendant was criminal in nature, what consequences followed from that conduct and from other

noncriminal factors, and the appropriate accounting for expenses and revenue amounts when

looking at the aftermath of the Newbo Evolve festival.

       If a simpler accounting is necessary, there is a more reasonable alternative than argued by

Government or Defense counsel. It appears to be undisputed that the Bank recovered $757,768.75

after the festival, which was money placed in GoCR’s account due to generation of revenue at the

event. Doc. 37 at 12. The Bank committed in December 2017 to loaning $1.5 million, and no fraud

was involved in securing that line of credit. In July and August of 2018, Defendant and Mr.

McCreight fraudulently induced the Bank to loan an additional $700,000. The bank’s recovery of

$757,768.75 would not have occurred in a fact pattern where Defendant and McCreight did not

defraud it and it decided to pull out without investing more money.

       In that event, Ms. Clarkson would have cancelled; Maroon 5 and other music acts would

not have performed because there would have been no stage, security, production, or other

necessary provisions for concerts; in short, there would have been $0 in revenue. There is no fact

pattern that Defendant can hypothesize under which the Bank does not advance additional money




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but does recover from generated revenue. It is therefore counterfactual to argue that the recovered

funds should be applied to the $1.5 million that the Bank was, in retrospect, always going to lose.

Therefore, the simplest, most straightforward way to view these facts is to say that the Bank loaned

$1.5 legitimately, loaned $700,000 due to criminal activity, recovered $757,768.75 that would not

have been generated absent the subsequent loans, and ended the unfortunate affair $57,768.75 ahead

of where it would have been if it had instead refused to loan the additional funds.

         Defendant maintains that for the reasons argued in his Sentencing Memorandum and in

support of his Motion for Downward Departure and Downward Variance, the Court should find

that loss and restitution are significantly lower than as argued by the Government and that a

departure and/or variance is appropriate in this matter.

                                                                 Respectfully submitted,


             CERTIFICATE OF SERVICE                       /s/ Stephen A. Swift
                                                        Stephen A. Swift      AT0007751
 I hereby certify that on February 15, 2023, I
 electronically filed the foregoing with the Clerk of
 Court using the ECF system, which will send               /s/ Austin G. Collins
 notification of such filing to the following:          Austin G. Collins      AT0014208
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